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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

CAROLYN MILLER, neé Webber, on behalf of               )
herself and others similarly situated,                 )
                                                       )
               Plaintiff,                              )
                                                       )       Civil Action No. 1:18-cv-04088
               v.                                      )
                                                       )
SOUTHWEST CREDIT SYSTEMS, L.P.                         )       Hon. Rebecca R. Pallmeyer
                                                       )
               Defendant.                              )

PLAINTIFF’S LOCAL RULE 56.1(b)(3)(B) RESPONSE TO DEFENDANT’S RULE 56.1
                  STATEMENT OF MATERIAL FACTS

       Plaintiff, CAROLYN MILLER(“Plaintiff”), by and through her attorneys, submits this
response to Defendant’s statement of material facts, which entitles Plaintiff to summary
judgment in her favor, as follows:

1.     SWC sent a letter to Plaintiff on March 29, 2018. (Doc. 1-1 at 6).

RESPONSE: Undisputed.

2. This letter states that the “creditor” of the debt at issue is “MONI.” Id. 3.

RESPONSE: Undisputed.

3. This letter states that the account number for the debt at issue is 601119902 4.

RESPONSE: Undisputed.

4. Prior to the date on which SWC sent this letter, Plaintiff had an active alarm monitoring
account with Platinum Protection. Exhibit E at 25:3-23; Depo. Exhibit 1. 5.

RESPONSE: Disputed, as so far as Plaintiff disconnected her services with Platinum Protection
on October 20, 2014.

5. This account was later assigned to Monitronics International, Inc. per the terms of the contract
entered into and signed by Plaintiff. Depo. Exhibit 1; Depo. Exhibit 1A (enlarged Assignment
clause).
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RESPONSE: Undisputed. Plaintiff was unaware of when the account was assigned to
Monitronics International, Inc. but the terms of the contract do state that the contract may be
assigned by Defendant to Monitronics International, Inc.

6. Plaintiff has this account from approximately July 30, 2011 until October of 2014. (date of
contract, Depo. Exhibit 1); (Exhibit E at 30:1-9; Depo. Exhibit 2 (cancellation letter sent to
Monitronics)

RESPONSE: Undisputed.

7. In October of 2014, Plaintiff sent a letter asking that “Monitronics” account with an account
number of 601119902 be cancelled. (Doc. 1-1 at 6).

RESPONSE: Undisputed.

8. Therefore, the entity and the account number for the cancelation letter sent by Plaintiff in
October of 2014 match the entity and account number for the March 29, 2018 letter sent by
SWC. (Doc. 1-1 at 6; Exhibit D).

RESPONSE: Disputed. The entities mentioned in the cancellation letter were Platinum
Protection and Monitronics. The entity mentioned in the letter sent by SWC is MONI.

9. Thereafter, in September of 2016, Monitronics rebranded and changed its name to MONI.
Exhibit 1 at 2.

RESPONSE: Undisputed. Plaintiff was unaware that this rebranding had occurred.

10. Then, in 2017, Plaintiff’s account was placed with SWC for collection. (Exhibit C).

RESPONSE: Undisputed.

11. At the time the debt was assigned to SWC, the original creditor was, in fact, MONI. Id.

RESPONSE: Disputed. MONI is neither an entity nor business organization, as it is not
registered as a business in the state of Illinois. Illinois Secretary of State’s Business Lookup,
https://www.ilsos.gov/corporatellc/.

12. As such, the March 29, 2018 letter undisputedly stated the name of “the creditor to whom the
debt is owed.” (Doc. 1-1 at 6; Exhibit A).

RESPONSE: Disputed. This is a legal conclusion. MONI is neither an entity nor business
organization, as it is not registered as a business in the state of Illinois. Illinois Secretary of
State’s Business Lookup, https://www.ilsos.gov/corporatellc/.

13. The debt assigned to SWC was for Carolyn Webber. (Doc. 1-1 at 6).
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RESPONSE: Undisputed.

14. This lawsuit has been filed by Carolyn Miller. (Doc. 1; Doc. 1-1; see this Court’s PACER
docket).

RESPONSE: Undisputed.

15. As acknowledged by Plaintiff’s filings, and for purposes of this suit, Carolyn Webber and
Carolyn Miller are the same person. (Doc. 1; Doc. 1-1).

RESPONSE: Undisputed.



                                                    Respectfully submitted,


                                                    By: /s/ Celetha Chatman
                                                    One of Plaintiffs’ Attorneys
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                                 CERTIFICATE OF SERVICE

         I, Celetha Chatman, an attorney, hereby certify that on May 2, 2019, I electronically filed
the foregoing document using the CM/ECF system, which will send notification of such filing to
all attorneys of record.

 Dated: May 2, 2019                                Respectfully submitted,


                                                   By:        /s/ Celetha Chatman
